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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                       Case No. 9:19-cv-81160

  APPLE INC.,

                     Plaintiff,

          v.

  CORELLIUM, LLC,

                     Defendant.


                JOINT MOTION TO EXTEND TWO DISCOVERY DEADLINES
                      AND SUPPORTING MEMORANDUM OF LAW

         Plaintiff Apple Inc. (“Apple”) and Defendant Corellium, LLC (“Corellium”) respectfully

  and jointly move the Court for an order extending by ten and seven days, respectively, the

  deadlines for (1) the exchange of rebuttal expert witness summaries and reports and (2) the close

  of expert discovery. Neither deadline extension would affect a filing with the Court or require

  action by the Court, but instead the extensions would provide necessary time for the parties to

  complete discovery in light of Magistrate Judge Matthewman’s March 20, 2020 Omnibus Order

  Providing Discovery Rulings and other issues described more fully herein. The parties describe

  below and in the attached declaration the extenuating circumstances necessitating these extensions,

  the hardship faced by the parties if such extensions are not granted, and the difficulties they would

  face in complying with these deadlines absent the requested extensions.
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         Specifically, the parties propose the following change to two deadlines in this case:

                             Deadline                      Current           Proposed

              Exchange of rebuttal expert witness       4/3/2020          4/13/2020
              summaries and reports as required
              by Fed. R. Civ. P. 26(a)(2) by
              Expert discovery shall be completed       4/20/2020         4/27/2020
              by

         In further support of this joint motion, the parties state as follows:

         1.      On March 20, 2020, Magistrate Judge Matthewman issued an Omnibus Order

  Providing Discovery Rulings After March 16, 2020 Discovery Hearing (ECF No. 249 (the

  “Omnibus Order”)).

         2.      The Omnibus Order,1 among other things, requires Corellium to provide discovery

  related to its Corellium Apple Product, or “CAP,” which Apple accuses of infringing various

  copyrights in this action and violating other laws. The Omnibus Order requires, for example, that

  by March 31, 2020, Corellium produce to Apple the following discovery:

         •    “the native source code files for [] all versions of the CAP” via an appropriate “software
              repository” platform (id. at 4-5);

         •    “all code and technical documentation regarding the CAP” (id. at 7);

         •    “Corellium shall produce on or before March 31, 2020 an on-premises version of the
              CAP to Apple” (id. at 7-8);

         •    “Corellium is ORDERED to review its privilege log, remove any documents that are
              not subject to any legitimate privilege and then produce them to Apple” (id. at 9-10);
              and

         •    “any additional documents that are responsive to Apple’s Request for Productions in
              light of the Court’s expanded definition of the Corellium Apple Product” (id. at 10.).



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   Corellium intends to move for reconsideration of and/or appeal portions of the Omnibus Order.
  Apple expects full compliance with the order and reserves all of its rights and remedies.

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          3.       The parties anticipate that certain of Corellium’s fact witnesses have knowledge

  relevant to the materials that are the subject of the Omnibus Order. The parties had previously

  scheduled several of these witnesses to be deposed before March 31, i.e., before the deadline for

  compliance with the Omnibus Order. To avoid the need to depose witnesses more than once, and

  to enable Apple to question these witnesses about the materials that are the subject of the Omnibus

  Order, the parties have agreed to postpone certain depositions until after Corellium has completed

  providing the discovery that is the subject of the Omnibus Order. Corellium reserves the right to

  file its motion for reconsideration of and/or to appeal of the Omnibus Order; Apple reserves all

  rights on these issues as well. But both parties agree that the extensions requested in this motion

  are necessary.

          4.       The parties also recognize that Apple and its counsel and expert witnesses will need

  sufficient time to review the materials produced pursuant to the Omnibus Order prior to the

  depositions of certain Corellium witnesses, before rebuttal expert reports are due, and before the

  expert witnesses are deposed.

          5.       Further impacting the parties’ ability to meet the current deadlines is the fact that

  certain of the parties’ attorneys and their expert witnesses have been restrained in their business

  and travel activities by individual and family health issues and by legal and practical constraints

  stemming from the spread of the COVID-19 virus nationally, as explained more fully in the

  accompanying declaration. Despite the parties’ diligent efforts to comply with the existing

  deadlines set by this Court, the parties agree that the two extensions sought herein are necessary.

          6.       Pursuant to this Court’s prior order regarding the schedule in this case, this motion

  is being submitted by both parties and is supported by the declaration of Gabriel S. Gross.

          7.       The changes proposed herein will not affect any filing deadlines this Court has set

  for this case or the trial date set by this Court.
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         WHEREFORE, the Parties respectfully move this Court to enter the attached proposed

  order, extending the deadlines for service of any rebuttal expert reports and for the close of expert

  discovery.




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   Dated: March 24, 2020                           Respectfully Submitted,


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